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MINUTE ENTRY
FEBRUARY 16,2024
CURRAULT, M. J.
                                                                        Tdesra
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                                UMTED STATES DISTzuCT COURT
                                EASTERN DISTRICT OF LOUISIANA



 UNITED STATES OF AMERICA                                       CRIMINAL ACTION

 VERSUS                                                         NO. 24-11

 CHARLES TYLER HIMBER                                           SECTION: MAG


                                          INITIAL APPEARANCE

                                                                            $..
                                                                                           '*bJ
APPEARANCES: X DEFENDANT                                  OLINSEL


                    x ASSISTANT U.S. ATToRNEY Ch ns{r '' <-CALOGERO
          Designated by Court and swom.
                    -INTERPRETER              Time:             .M to             M.


 / DEFENDANT CONSENTED TO APPEAR BY VIDEO

X/ DEFENDANT WAS ADVISED OF HIS zuGHTS
X / READING OF THE                                DISTzuCT OF COLUMBIA         WAS
    READ WAIVED

_/ DEFENDANT INFORMED THE COURT THAT COUNSEL HAS BEEN/WOULD BE
RETAINED


x   REQUESTED COURT
                                                  t
                                                       WORN RE FINANCIAL STATUS

Y FEDERAL PUBLIC                                       REPRESENT THE DEFENDANT

_/ DEFENDANT FOUND NOT TO BE LEGALLY INDIGENT

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                                        "unrJ                      cc-



SPECIAL CONDITIONS: (I) HE SHALL NOT COMMIT A FEDERAL, STATE OR LOCAL
CRIME DURING THE PERIOD OF RELEASE; (2) HE SHALL NOT TNTERFERE WITH,
INTIMIDATE, THREATEN, HARM, OR INFLUENCE ANY JUROR, GOVERNMENT
WITNESSES, VICTIMS OR FEDERAL AGENTS.

          SEE ATTACHED FOR ADDITION      CONDITIONS OF RELEASE




_/ GOVERNMENT ADVISED OF ITS OBLIGATIONS TO PRODUCE ALL EXCULPATORY
EVIDENCE TO THE DEFENDANT PURSUANT TO BRADY V. MARYLAIID AND ITS
PROGENY AND ORDERED TO DO SO TIMELY.

     DEFENDANT REMANDED TO THE CUSTODY OF THE U.S. MARSHAL; DEFENDANT
-/
DETAINED TEMPORAzuLY UNTIL DETENTION HEARING IN

 ]t/ DEFENDANT RELEASED ON BOND
 X / DEFENDANT INFORMED THAT PRELIMINARY HEARIN              OVAL HEARIN

SET FOR: WAIVED TO BE HELD IN DISTRICT O               A

     / HEAzuNG TO DETERMINE COUNSEL IS SET FOR

  / DEFENDANT TNFORMED THAT DETENTION HEARING IS SET FOR

WAIVED TO BE HELD IN

  / DEFENDANT ORDERED TO RE.APPEAR FOR PRELIMINARY HEARING/REMOVAL

HEARING/ARRAIGNMENT/DETENTI ON HEARING/HEARING TO DETERMINE COUN SEL

WITH COUNSEL

      COURT ACCEPTED DEFENDANTS VERBAL CONSENT IN LIEU OF SIGNATURE
-/THE
ON THE APPEARANCE BOND AND ORDER SETTING CONDITIONS OF RELEASE.

X WAIVER OF RULE 5 & 5.I HEAzuNGS EXECUTED




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DEFENDANT'S NAME: CHARLES ryLER HIMBER                                                                        CASE NO. 24-ml-11

                                                     ADDITIONAL CONDITIONS OF RELEASE

Third Party Custodian:

The defendant must:
       a) submit to supervision by and report for supervision to US PROBATION through office visits ONLY


E     b) continue or maintain employment
       d) surrender any passport to U.S. Probation
       e) not obtain a passport or other international travel document

 {     f) abide by the following travel restrictions: Continental U.S.                                            EDL^ILLA E
                Travel Restricted to the Eastem Distnct of Louisiana with th6 alldarce to @ntinental U.S. with prid approval by U.S. Pmbation
       Othef

       g) avoid all contact with victim/witness                                  co-defendants
       Other
       h) medical or psychiatric treatment if directed by Pretrial Services
 {l    k) not possess firearm, destructive device or other weapon
       l) not use alcohol: at all                      excessively
       m) not use or unlawfully possess narcotic drug/controlled substances
       n) submit to testing for a prohibited substance if required by Pretrial Services
       o) participate in substance abuse treatment as directed by Pretrial Services

       p) participate in location restriction program                                     (i) Curfew
                                                                                          (ii) Home Detention
                                                                                          (iii) Home Incarceration
                                                                                          (iv) Stand Alone Monitoring
       q) submit to the following location monitoring technology and comply with its requirements as directed:
                      Location monitoring technology as directed by the pretrial services or supervising officer; or
                       Voice Recognition; or

                     i) Radio Frequency; or
                        GPS.

       r) pay all or part of the cost of location monitoring as determined by Pretrial Services or supervising officer

 { s) report every contact with law enforcement personnel to Pretrial Services
 ,/ t) Other(s):
     Stay away from Washington DC except for court proceedings.d.rd                                                                *+e€,Ltrt^, ..lL    h*fp   I
Resolve any outstanding attachments in 22nd Judicial District Court within 30 days of release

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